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                              UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE
------------------------------------------------------------ x
                                                             :
In re                                                        : Chapter 11
                                                             :
CHECKOUT HOLDING CORP, et al.,                               : Case No. 18-12794 (KG)
                                                             :
                  Debtors.1                                  : (Joint Administration Pending)
                                                             :
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                              AGENDA FOR FIRST DAY HEARING
                             AND INDEX OF FIRST DAY PLEADINGS2

A.       Voluntary Petitions:

            1.     Checkout Holding Corp.
            2.     Catalina Marketing Corporation
            3.     Catalina Marketing Procurement, LLC
            4.     Catalina Marketing Technology Solutions, Inc.
            5.     Catalina Marketing Worldwide, LLC
            6.     Cellfire Inc.
            7.     Modiv Media, Inc.
            8.     PDM Group Holdings Corporation
            9.     PDM Holdings Corporation
           10.     PDM Intermediate Holdings A Corporation
           11.     PDM Intermediate Holdings B Corporation

B.       Declaration of Robert A. Del Genio in Support of the Debtors’ Chapter 11 Petitions and
         First Day Relief [D.I. 14; filed December 12, 2018]




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings
B Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL
33716.
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   All motions and other pleadings referenced herein are available online at the following address:
https://cases.primeclerk.com/CatalinaMarketing.




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C.       First Day Motions:

           12. Motion of Debtors Pursuant to Fed. R. Bankr. P. 1015(b) for Entry of Order
               Directing Joint Administration of Chapter 11 Cases [D.I. 2; filed December 12,
               2018]

           13. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b), 363(c), 364(a), and
               503(b)(1) and Fed. R. Bankr. P. 6003 and 6004 for (I) Interim and Final Authority
               to (A) Continue Existing Cash Management System, (B) Honor Certain
               Prepetition Obligations Related Thereto, and (C) Maintain Business Forms and
               Existing Bank Accounts; and (II) Related Relief [D.I. 3; filed December 12, 2018]

           14. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b), and 507(a) for
               Interim and Final Authority to Pay Prepetition Wages, Salaries, Commissions,
               Employee Benefits, and Other Compensation and Maintain Employee Benefit
               Programs and to Pay Related Administrative Obligations [D.I. 4; filed December
               12, 2018]

           15. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 362(d), 363(b), and 503(b)
               for Interim and Final Authority to Continue their Insurance Policies and
               Programs, Pay all Obligations with Respect Thereto, and Related Relief [D.I. 5;
               filed December 12, 2018]

           16. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a), 363(b), 507(a), and 541 for
               Authority to Pay Certain Prepetition Taxes and Fees [D.I. 6; filed December 12,
               2018]

           17. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 363(b) for Interim and
               Final Authority to (I) Maintain and Administer Prepetition Customer Programs
               and (II) Pay and Honor Related Prepetition Obligations [D.I. 7; filed December
               12, 2018]

           18. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 366 Requesting Entry of
               Interim and Final Orders (I) Approving Debtors’ Proposed Form of Adequate
               Assurance of Payment to Utility Providers, (II) Establishing Procedures Providing
               Adequate Assurance and Resolving Objections by Utility Providers, and (III)
               Prohibiting Utility Providers from Altering, Refusing, or Discontinuing Utility
               Service [D.I. 8; filed December 12, 2018]

           19. Application of Debtors Pursuant to 11 U.S.C. § 105(a) and 28 U.S.C. § 156(c) for
               Appointment of Prime Clerk LLC as Claims and Noticing Agent Effective as the
               Petition Date [to be filed]

           20. Motion of Debtors for (I) Authority to (A) Obtain Postpetition Senior Secured
               Financing, (B) Use Cash Collateral, (C) Grant Adequate Protection to Prepetition
               Secured Parties, (D) Grant Liens and Superpriority Claims, (E) Modify the
               Automatic Stay, and (II) Related Relief [to be filed]


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           21. Motion of Debtors Pursuant to 11 U.S.C. §§ 105(a) and 362 for Entry of Interim
               and Final Orders Establishing Notification Provisions and Approving Restrictions
               on (A) Certain Transfers of Interests in Debtors and (B) Claims of Certain
               Worthless Stock Deductions [D.I. 9; filed December 12, 2018]

           22. Motion of Debtors Pursuant to 11 U.S.C. §§ 105, 363, and 503 and Fed. R. Bankr.
               P. 6003 and 6004 for Interim and Final Authority to Pay Prepetition Trade Claims
               in Ordinary Course of Business [D.I. 10; filed December 12, 2018]

           23. Motion of Debtors for Order (I) Scheduling Combined Hearing to Consider (A)
               Approval of Disclosure Statement, (B) Approval of Solicitation Procedures and
               Forms of Ballots, and (C) Confirmation of Prepackaged Plan; (II) Establishing an
               Objection Deadline to Object to Disclosure Statement and Plan; (III) Approving
               the Form and Manner of Notice of Combined Hearing, Objection Deadline, and
               Notice of Commencement; (IV) Conditionally Waiving Requirement of Filing
               Statement of Financial Affairs and Schedules of Assets and Liabilities; (V)
               Conditionally Waiving Requirements to Convene the Section 341 Meeting of
               Creditors; and (VI) Granting Related Relief Pursuant to Sections 105(a), 341,
               521(a), 1125, 1126, and 1128 of the Bankruptcy Code and Bankruptcy Rules
               1007, 2002, 3017, and 3018 [D.I. 13; filed December 12, 2018]

D.       Plan-Related Documents:3

           24. Joint Prepackaged Chapter 11 Plan of Checkout Holding Corp. and its Affiliated
               Debtors (Solicitation Version) [D.I. 11; filed December 12, 2018]

           25. Disclosure Statement for Joint Prepackaged Chapter 11 Plan of Checkout Holding
               Corp. and its Affiliated Debtors (Solicitation Version) [D.I. 12; filed December
               12, 2018]




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  Copies of these documents have been included herein for the convenience of the Court. These matters will not be
going forward at the first day hearing.

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Dated: December 12, 2018
       Wilmington, Delaware
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                                      Jason M. Madron (No. 4431)
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                                      - and -

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                                      and Debtors in Possession




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